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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

                                                     §
    IN RE:                                           §       CASE NO: 17-12870
                                                     §
    REILLY-BENTON COMPANY, INC.                      §       CHAPTER 7
                                                     §
    DEBTOR.                                          §       SECTION A
                                                     §

                                                  ORDER

           Before the Court is the Unopposed Motion for Entry of Protective Order (the “Motion”),

   [ECF Doc. 191], filed ex parte by Roussel & Clement Creditors. Finding that service is proper

   and sufficient, good cause exists to grant the requested relief,

           IT IS ORDERED that the Motion is GRANTED and the Protective Order as proposed by

   the parties (attached as an exhibit to the Motion) is approved by the Court to govern discovery and

   protection of confidential documents in this case.

           IT IS FURTHER ORDERED that Movant shall serve this Order on the required parties

   who will not receive a copy through the ECF system pursuant to the FRBP and the LBRs and file

   a certificate of service to that effect within three (3) days.

           New Orleans, Louisiana, September 1, 2022.



                                                          _____________________________________
                                                                  MEREDITH S. GRABILL
                                                           UNITED STATES BANKRUPTCY JUDGE
